249 F.2d 447
    UNITED STATES of America, Appellant,v.Marjorie Adair BEASOR and Helen Jean Applegate.
    No. 15879.
    United States Court of Appeals Eighth Circuit.
    Oct. 22, 1957.
    
      William C. Spire, U.S. Atty., Omaha, Neb., and Dean W. Wallace, Asst. U.S. Atty., Lincoln, Neb., for appellant.
      Johnston &amp; Grossman, Lincoln, Neb., and Floersch &amp; Floersch, Omaha, Neb., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on stipulation of parties.
    
    